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 4                            UNITED STATES DISTRICT COURT
 5                                     DISTRICT OF NEVADA
 6                                                  ***

 7   UNITED STATES OF AMERICA,           )
                                         )
 8                     Plaintiff,        )                       2:05-CR-0440-RLH-LRL
                                         )
 9         vs.                           )                            ORDER
                                         )
10   DONALD M. DAVIDSON,                 )
                                         )
11                     Defendant.        )
     ____________________________________)
12

13                  Before this Court is the Report and Recommendation (#71, filed June 7, 2007) of

14   United States Magistrate Judge Lawrence R. Leavitt, regarding Defendant’s Motion to Dismiss

15   Count One of the Second Superseding Indictment (#49). Objections (#76) were filed to Magistrate

16   Judge Leavitt’s Report and Recommendation in accordance with Local Rule IB 3-2 of the Rules of

17   Practice of the United States District Court for the District of Nevada. The Government has filed an

18   Opposition (#82) thereto, and the matter was submitted for consideration.

19                  The court has conducted a de novo review of the record in this case in accordance

20   with 28 U.S.C. §636(b)(1)(B) and (C) and Local Rule IB 3-2 and determines that the Report and

21   Recommendation of Magistrate Judge Leavitt should be accepted and adopted.

22                  IT IS THEREFORE ORDERED that Magistrate Judge’s Report and Recommenda-

23   tion (#71, entered June 7, 2007) is AFFIRMED and ADOPTED, Defendant Davidson’s Motion to

24   Dismiss Count One of the Second Superseding Indictment (#49) is denied.

25                  Dated: June 19, 2007.

26                                                       _________________________________
                                                         ROGER L. HUNT
                                                         Chief U.S. District Judge
